






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-07-298 CR


____________________



ROBERT WAYNE SIMON a/k/a ROBERT SIMON, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause No. 00184






     MEMORANDUM OPINION 


	Robert Wayne Simon a/k/a Robert Simon was convicted and sentenced on an
indictment for unauthorized use of a vehicle.  Simon filed a notice of appeal on June 4, 2007. 
The trial court entered a certification of the defendant's right to appeal in which the court
certified that this is a plea-bargain case and the defendant has no right of appeal.  See Tex.
R. App. P. 25.2(a)(2).  The trial court's certification has been provided to the Court of
Appeals by the district clerk.

	On June 7, 2007, we notified the parties that the appeal would be dismissed unless an
amended certification was filed within thirty days of the date of the notice and made a part
of the appellate record.  See Tex. R. App. P. 37.1.  The record has not been supplemented
with an amended certification.

	Because a certification that shows the defendant has the right of appeal has not been
made part of the record, the appeal must be dismissed.  See Tex. R. App. P. 25.2(d). 
Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.	

								                                                        

									HOLLIS HORTON

										Justice

	

Opinion Delivered July 25, 2007

Do Not Publish

Before Gaultney, Kreger, and Horton, JJ.


